AO 442 (Rev. 01/09) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                    for the
                                                             District of Columbia           IV



                      United States of America
                                 V.                                   )   Case: 1:21.-mj-00071
                                                                          Assigned to: Judge Zia M. Faruqui
                                                                          Assign Date: 1/15/2021
                        Lisa Marie Eisenhart                          j   Description: COMPLAINT W/ARREST
                             Defendant


                                                        ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate, judge without unnecessary delay
(name o£petson to be arrested)        Lisa Marie Eisenhart
who is accused of an offense or violation based on the following document filed with the court:

O Indictment               Q Superseding Indictment          0 Information       Q   Superseding Information                Of Complaint
0 Probation Violation Petition                0 Supervised Release Violation Petition        0 Violation Notice 0 Order of the

This offense is briefly described as follows:
  Violations of 18 U.S.C. §§ 231(a)(3), 1752(a), 371, 2, and 40 U.S.C. § 5104(e)(2).




                                                                                                             ~.2021.01.15
Date: 01/15/2021                                                                                             A 8:19:41 -05'00'
                                                                                                 Issuing officer's signature

City and state:         Washington, D.C.                                                    Zia M. Farugui U.S. Magistrate Judge
                                                                                                   Printed name and title


                                                                   Return

          This warrant was received on (date)           ~S/~+JO`          and the person was arrested on (date)
at (city and state)


Date:     l     ~~/a Uo~
                                                                                             Arresting oiTicer'ssignature
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                                                                                    w t`S        ,4,-                    / ~    1        .54
                                                                                                  Panted name and title




                Case 3:21-mj-02679 Document 1 Filed 01/19/21 Page 1 of 1 PageID #: 1
